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 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    CEDRIC R. ALLEN,                                   No. 2:23-cv-02917 TLN DB P
12                       Plaintiff,
13            v.                                         ORDER
14    BLACK, et al.,
15                       Defendants.
16

17          Plaintiff, a state prisoner, is proceeding pro se with a civil rights action pursuant to 42

18   U.S.C. § 1983. Plaintiff has filed an in forma pauperis affidavit (“IFP”) in which he states he is

19   not employed and has not received money from any other sources over the last twelve months.

20   (ECF No. 2 at 1.) The IFP affidavit indicates plaintiff has no other assets. (Id. at 2.) The affidavit

21   was signed on December 10, 2023. (Id.) Based on the information before the court, the complaint

22   was constructively filed on December 10, 2023. (See ECF No. 1 at 8.)

23          On December 21, 2023, plaintiff’s prisoner trust fund account statement was filed for the

24   time period covering June 1, 2023, to December 20, 2023. (ECF No. 4.) The trust fund account

25   statement indicates plaintiff received a deposit designated “INMATE SPECIAL DEPOSIT -

26   DO/CS ONLY” on August 29, 2023, in the amount to $1,200.00 and a deposit with the same

27   description on September 5, 2023, in the amount of $1,400.00. (Id. at 2.) Also between August

28   29 and September 5, 2023, plaintiff also received an additional three deposits described as
                                                         1
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 1   “MISC. INCOME (EXEMPT)” totaling $913.07. (Id.) On December 10, 2023, the date on which

 2   plaintiff signed the IFP affidavit and constructively filed the complaint, plaintiff’s trust account

 3   statement balance was $1,808.84. (Id.)

 4           To commence a civil action, a plaintiff must file a complaint as required by Rule 3 of the

 5   Federal Rules of Civil Procedure and must either pay both the $350.00 filing fee and the $55.00

 6   administrative fee for a civil action, or, in the alternative, file an application requesting leave to

 7   proceed in forma pauperis.1 See 28 U.S.C. §§ 1914(a), 1915(a). The court may authorize the

 8   commencement of an action “without prepayment of fees or security therefor” by an individual

 9   who submits an affidavit evidencing an inability to pay such fees or give security therefor. 28

10   U.S.C. § 1915(a). However, plaintiff has made an inadequate showing of indigency based on the

11   prisoner trust fund account statement.

12           The information before the court indicates plaintiff was able to pay the court costs and

13   was not entitled to IFP status on the day he signed the IFP affidavit and constructively filed the

14   complaint. The court will therefore deny plaintiff’s IFP application without prejudice. Plaintiff

15   will be granted twenty-one (21) days in which to submit the appropriate court fees to the Clerk of

16   the Court.

17           In the alternative, plaintiff may clarify his financial condition and attempt to demonstrate

18   financial hardship in a renewed IFP application. If plaintiff does not pay the court fees and elects

19   to renew the application to proceed IFP, then plaintiff must provide additional information

20   concerning the credits described above and not disclosed on the IFP affidavit.
21           Plaintiff is cautioned that failure to either pay the court fees in full or adequately explain

22   why the incoming funds were not disclosed on the prior IFP affidavit will result in a

23   recommendation that this case be dismissed without prejudice.

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27     If leave to file in forma pauperis is granted, plaintiff will still be required to pay the $350.00
     filing fee but will be allowed to pay it in installments. Litigants proceeding in forma pauperis are
28   not required to pay the $55.00 administrative fee.
                                                          2
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 1           For the reasons set forth above, IT IS HEREBY ORDERED as follows:

 2           1. Plaintiff’s application for leave to proceed in forma pauperis (ECF No. 2) is denied

 3               without prejudice.

 4           2. The Clerk of Court is DIRECTED to send plaintiff a blank application to proceed in

 5               forma pauperis.

 6           3. Within twenty-one (21) days from the date of this order, plaintiff shall submit the

 7               appropriate filing fee plus administrative fee or a properly completed application to

 8               proceed in forma pauperis along with information about the funds received in August

 9               and September of 2023 and not disclosed.

10   Dated: June 20, 2024

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